

Matter of Shelton (2017 NY Slip Op 03831)





Matter of Shelton


2017 NY Slip Op 03831


Decided on May 11, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 11, 2017


[*1]In the Matter of FINCOURT B. SHELTON, an Attorney. ON MOTION (Attorney Registration No. 3971314)

Calendar Date: April 24, 2017

Before: McCarthy, J.P., Garry, Egan Jr., Lynch and Rose, JJ.


Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER	
Respondent was admitted to practice by this Court in 2001 after being admitted in 1980 in Pennsylvania, where he maintains an office for the practice of law. By order of the Supreme Court of Pennsylvania dated October 20, 2016, respondent was suspended from the practice of law for four years upon a determination that he, among other things, breached his fiduciary duties to two separate clients involving two unrelated estate matters. The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) now moves, by order to show cause marked returnable April 24, 2017, to impose discipline upon respondent by reason of the discipline imposed in Pennsylvania. Respondent has not replied or otherwise responded to AGC's motion or raised any of the available defenses (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.13 [b]); therefore, we grant the motion (see Matter of Tan, ___ AD3d ___, ___, 2017 NY Slip Op 02875, *1 [2016]; Matter of Halbfish, 78 AD3d 1320, 1321 [2010]).
Turning to the appropriate discipline to be imposed, having considered the nature of respondent's misconduct, the discipline imposed in Pennsylvania and his failure to respond to the subject motion, we hold that, in order to protect the public, maintain the honor and integrity of the profession and deter others from committing similar misconduct, respondent should be suspended from the practice of law for a period of four years (see Matter of Musafiri, 144 AD3d 1387, 1388 [2016]; Matter of Macchiaverna, 125 AD3d 1043, 1044 [2015]).
McCarthy, J.P., Garry, Egan Jr., Lynch and Rose, JJ., concur.
ORDERED that the motion of the Attorney Grievance Committee for the Third Judicial [*2]Department is granted; and it is further
ORDERED that respondent is suspended from the practice of law for a period of four years, effective immediately, and until further order of this Court (see generally Uniform Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16); and it is further
ORDERED that, for the period of suspension, respondent is commanded to desist and refrain from the practice of law in any form, either as principal or as agent, clerk or employee of another; and respondent is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto; and it is further
ORDERED that respondent shall comply with the provisions of the Uniform Rules for Attorney Disciplinary Matters regulating the conduct of suspended attorneys (see Uniform Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.15).








